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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
EPSILON ENERGY USA, INC.,   :                 Civil No. 1:21-CV-00658
                            :
        Plaintiff,          :
                            :
        v.                  :
                            :
CHESAPEAKE APPALACHIA, LLC, :
                            :
        Defendant.          :                 Judge Jennifer P. Wilson
                                     ORDER
     AND NOW, on this 2nd day of July, 2021, for the reasons stated in the

accompanying memorandum, IT IS ORDERED AS FOLLOWS:

  1. Plaintiff’s motion for leave to amend (Doc. 96) is GRANTED.

  2. The Clerk of Court is directed to docket the redacted version of the amended

     complaint (Doc. 96-1) as a separate docket entry. The Clerk of Court is

     further directed to docket the unredacted version of the amended complaint

     (Doc. 96-3) as a separate docket entry under seal.

  3. Count IV of the amended complaint is DISMISSED.

  4. Counts I–III of the amended complaint are DISMISSED to the extent that

     they are based on the proposed Craige South Well.

  5. A case management conference will be conducted via telephone on July 14,

     2021 at 8:30 a.m. Counsel for Plaintiff shall initiate the call by calling

     chambers at (717) 221-3970 after all parties are on the line.



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6. At least five business days before the conference, counsel shall file a

   revised joint case management plan with the court via CM/ECF.

                                    s/Jennifer P. Wilson
                                    JENNIFER P. WILSON
                                    United States District Court Judge
                                    Middle District of Pennsylvania




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